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                       IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               v.
                                                              Case No. 21-cr-00117 (TFH)
RYAN TAYLOR NICHOLS,

                       Defendant.



                  DEFENDANT RYAN TAYLOR NICHOLS
      MOTION FOR A CONTINUANCE AND AN EXTENSION OF TIME TO FILE
                         PRETRIAL MOTIONS


       Pursuant to Rule 45(b)(1)(b) of the Federal Rules of Criminal Procedure, Ryan Taylor

Nichols, through his attorney, Joseph D. McBride, Esq., respectfully requests that this Honorable

Court modify the SECOND PRE-TRIAL ORDER. (ECF. No. 86) Specifically, Mr. Nichols asks

this Court to extend the due dates for the PRETRIAL MOTIONS.

       Undersigned counsel contracted COVID 19 in May of 2022 and has not yet fully recovered.

Lingering and disruptive symptoms prompted undersigned counsel to pursue specialized testing

that discovered latent Lyme Disease antibodies. Undersigned counsel’s physicians informed him

that this combination of conditions is the culprit underlying his inability to recover.

       On July 7, 2022, undersigned counsel was evaluated by another doctor, who informed him

that he has Chronic Lyme Disease. Undersigned counsel has been informed by his physicians that

he needs to take an aggressive course of action to eradicate and neutralize this condition.

Undersigned counsel began treatment to combat his illness on Thursday, July 7, 2022.

Undersigned counsel has been informed that his condition is lifelong but that he will be able to

resume life as close to normal as possible after treatment.


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       Treatment and recovery are expected to take somewhere between one to two months.

Coordinating management of care between undersigned counsel’s residences in New York City

and Washington, DC, a pharmaceutical regimen with poorly tolerated drugs, medical treatment,

stress management, significant lifestyle changes, visits to various specialists located far from

undersigned counsel’s residence, and the need for rest, are a few of the things essential to the

treatment and recovery process.

       Undersigned counsel has spoken with co-counsel Kira Ann West and AUSA Douglas

Brasher regarding his extension request. Neither party has any objection. While undersigned

counsel is expected to recover, he does not have an exact timetable regarding recovery. Nor does

he have a clear view of his capacity to work during that time.

       In that vein, he has also spoken with co-counsel Kira Ann West and AUSA Douglas

Brasher about the foreseeable need for a continuance in this case. Ms. West has no objection to a

continuance, while the Government objects to the request. Undersigned counsel has also discussed

this situation with his client, Mr. Nichols, who has no objection to any request for an extension or

continuance related to the medical reasons in this writing.

       Undersigned counsel recognizes that his requests impose an imposition on the Government

and the Court. Still, the effects he has been experiencing have taken him by surprise and frankly

leave him no other option than to make this Motion and alert this Honorable Court to the situation.

       Thus, having demonstrated good cause and obtained consent for an extension, Mr. Nichols

respectfully asks this Court to extend the due dates for PRETRIAL MOTIONS by sixty (60) days1

and for leave to discuss the possibility of a continuance during July 21, 2022, Status Conference.



1
 On July 18, 2022, undersigned counsel was granted a 60-day extension for pre-trial motions and
a continuance from September 6, 2022, to December 12, 2022, in the matter of the United States
v. Richard Barnett, Case No. 21-cr-0038 ECF. No. 63, for the same reasons stated in this motion.


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Dated: Washington, DC
       July 18, 2022

                                         Respectfully submitted,

                                         /s/ Joseph D. McBride, Esq.
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